                   Case 2:25-mj-00136-CBB               Document 2          Filed 01/27/25         Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                              Western District
                                              __________       of Pennsylvania
                                                         District  of __________

                  United States of America                       )
                             v.                                  )
                                                                 )      Case No. 25-mj-136
                      AIDAN HARDING                              )
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               December 11, 2024              in the county of              Allegheny       in the
     Western           District of       Pennsylvania        , the defendant(s) violated:

            Code Section                                                   Offense Description
Title 18, United States Code                 Possession and Attempted Possession of Material Involving the Sexual
Sections 2252(a)(4)(B) and (b)(2)            Exploitation of a Minor




         This criminal complaint is based on these facts:
Please see attached Affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Lauren Scott
                                                                                            Complainant’s signature

                                                                                    Special Agent Lauren Scott, FBI
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:             01/27/2025
                                                                                               Judge’s signature

City and state:                  Pittsburgh, Pennsylvania                   Hon. Christopher Brown, U.S. Magistrate Judge
                                                                                             Printed name and title
